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                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
 v.                                                  :       Criminal Case No. 22-cr-15 (APM)
                                                     :
KENNETH HARRELSON                                    :        Previously Included in
                                                     :
                                     Defendant       :       Case No. 21-cr-28 (APM)
                                                     :

           KENNETH HARRELSON’S MOTIONS FOR NEW TRIAL,
               FOR RULE 29 JUDGEMENT OF ACQUITTAL
 AND TO DISMISS DUE TO GOVERNMENT REFUSAL TO COMPLY WITH BRADY
  V. MARYLAND REQUIRED DISCLOSURE OF EXCULPATORY INFORMATION

       Defendant, Kenneth Harrelson, through the undersigned counsel, Bradford L. Geyer,

presents his Motions For New Trial, For Rule 29 Judgement Of Acquittal And To Dismiss Due

To Government Refusal To Comply With Brady v. Maryland, 373 U.S. 83 (1963) and progeny

Required Disclosure Of Exculpatory Information. In support thereof, Defendant files his

companion Memorandum of Law.

       As a dispositive motion after trial, Harrelson believes that the Government’s opposition is

presumed.

       Oral argument is requested.

Dated: December 23, 2022             RESPECTFULLY SUBMITTED
                                     KENNETH HARRELSON, By Counsel

                                     /s/ Brad Geyer
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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 23, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.

                                      /s/ Brad Geyer
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